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            In the United States Court of Federal Claims
                                    No. 07-165 C
                              (Filed October 22, 2010)

*************************************
HERNANDEZ, KROONE AND               *
     ASSOCIATES, INC.,              *
                         Plaintiff, *
                                    *
               v.                   *

                                    *
THE UNITED STATES,                  *
                                    *
                         Defendant. *
*************************************

                                      ORDER

       In this Contract Disputes Act litigation, Hernandez, Kroone and Associates,
Inc. (hereinafter “HKA” or plaintiff), a certified small business located in San
Bernardino, California, seeks to recover sums it contends represents work it
performed at the agency’s request that was beyond the scope of what was originally
a $875,468 fixed-price construction contract. Subsequent amendments added 158
days to the original 150 day contract period and a total of $116,305.60 to the contract
amount. Final payment was made in May of 2006. In a series of certified claims to
the contracting officer, plaintiff sought $840,522.77 in additional compensation.

      Plaintiff is now seeking less than the amounts in the certified claims. Recently,
with leave, the government asserted fraud counterclaims. (Def.’s Am. Answer &
Countercl., ECF No. 82.)

      Due in part to numerous consented extensions of discovery, several discovery
disputes, the recent counterclaims, and the recent supplementation of plaintiff’s
claims expert’s analysis, some discovery remains. Nevertheless, plaintiff is anxious
to proceed to trial, representing that some $250,000 has been spent in attorney fees
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to pursue a claim of approximately $300,000. Given economic downturns, further
delay is particularly harmful to this small business.1/

       Before the court is Defendant’s Motion for Leave to Serve Subpoenas and to
Preclude Plaintiff and Its Expert from Any Further Modification of Plaintiff’s
Damages Calculation and Expert Report, filed September 1, 2010, ECF No. 99.
Plaintiff’s Opposition was filed on September 20, 2010, and Defendant’s Reply on
September 26, 2010. (ECF Nos. 101, 103.)

        Defendant seeks further deposition testimony of plaintiff’s expert witness, Mr.
Craig Sorensen, concerning alterations he made to his expert opinion first revealed
in his deposition taken in Los Angeles on July 27, 2010, changes he made two weeks
earlier based on input from Mr. Richard Hernandez, an HKA principal. The
government wants to question Mr. Sorensen as to these changes and Mr. Hernandez
as to the instructions given that resulted in these changes. The government requests
these individuals, who reside in California, be compelled to travel to Washington, DC
for this purpose, asserting that the failure to disclose these modifications prior to the
July 27, 2010 Los Angeles deposition allegedly wasted time and expense of
government counsel as well as a consultant from the government’s expert witness.
As the previously undisclosed changes to Mr. Sorensen’s expert opinion are the cause
of the inefficiencies, need for further examination and travel expenses, it is argued
that it is only fair that Mr. Sorensen, Mr. Hernandez and plaintiff’s counsel should
bear the burden of travel. The government also seeks to preclude HKA from any
further changes to its claim.

       Acknowledging the government is entitled to inquire of Mr. Sorensen as to
these recent changes, plaintiff claims the government has “taken a minor issue and
blown it massively out of proportion.” (Opp’n to Def’s Mot. for Leave to Serve
Subpoenas, ECF No. 101 at 1.) The changes to the amount of the claim the
government describes as significant, are a minor downward adjustment of less than
$18,000 in a total claim of $319,000 (less than six percent). Also, the changes were
charted in a one and a half page Supplemental Disclosure side-by-side comparison
given by Mr. Sorensen to government counsel at the deposition. A copy of
Sorensen’s Supplemental Disclosure is attached to plaintiff’s Opposition as Exhibit


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  Whether plaintiff would meet the size requirements under the Equal Access to Justice Act
(“EAJA”) even if the other requirements were met, is not presented at this time.

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A. The government could have accepted plaintiff’s counsel’s offer to reconvene the
deposition the following day to allow the government and its consultant to adjust to
the minor changes.

      In an Affidavit attached to plaintiff’s Opposition, Anne Hernandez avers:

      4. After the expert witness reports were exchanged in late December
      2009, I worked with Mr. Sorensen to collect supplemental records and
      secure more precise and complete records. I produced very few
      additional documents to Mr. Sorensen and for the most part there was
      very little change to the calculations in Mr. Sorensen’s report.
      5. Most of the additional information that I provided to Mr. Sorensen
      was merely reallocating costs that had been previously allocated to more
      general accounting codes. Only two of the cost line item revisions were
      of any significance; a downward adjustment of the line item for “Claims
      Advice” by approximately $15,000 and an upward adjustment of
      Richard Hernandez’ labor costs by approximately $22,000. Most of the
      other line items either stayed the same or changed in the hundreds of
      dollars up or down. The total previous claim amount of $319,894 was
      adjusted downward by approximately $18,000.

(Opp’n to Def.’s Mot. for Leave to Serve Subpoenas, ECF No. 101 at 12.)

       In reply, the government seizes on the Supplemental Disclosure attached to
plaintiff’s Opposition, asserting it is different from the side-by-side Mr. Sorensen
distributed at his deposition. The most recent side-by-side has totals of $319,894 and
$302,029, the latter apparently the original amount of Mr. Sorensen’s expert opinion
as to the amount of additional work; the former, the recent revision. This is
consistent with the conclusion stated that Mr. Sorensen increased the claim by
approximately $18,000. In contrast, the same line on the spreadsheet distributed at
the July 27, 2010 deposition has totals of $229,102 and $211,301. (Def.’s Mot., ECF
No. 99-1 at 2.) While the difference between these two numbers is about $18,000,
the totals are roughly $90,000 less than in the Supplemental Disclosure, the
government complains.

       The totals on the spreadsheet distributed at the July 27, 2010 deposition appear
to be in error. The totals should be $322,984 and $302,092. With those corrections,

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plaintiff’s characterization of a further reduction is accurate (from $322,984 to
$319,894 – a reduction of $3,090.) Regardless, the differences are relatively minor,
appearing to implicate nine line items.

       Any changes do not appear so significant as to preclude illumination by trial
examination. Nevertheless, barring agreement otherwise, the government may have
a continued deposition of Mr. Sorensen, limited to the changes from his original
report, and Mr. Hernandez, limited to the reasoning and particulars for the
reallocation of charges to which Mr. Sorensen now opines, both limited to no more
than three hours, so long as any additional supportive documentation is provided to
government counsel at least ten calendar days prior to the date for the continued
deposition. The depositions may be by telephone, videoconferencing or in person in
Los Angeles, at the government’s choice. The court will entertain a motion for costs
incident thereto at the conclusion of this litigation.

      Failure of plaintiff to support its CDA claims can have serious ramifications;
accordingly, the government’s request to preclude HKA from any further honing is
denied, but any demonstrated prejudice to defendant must be considered in this
regard.

       While plaintiff insists Mrs. Anne Hernandez (another principal in the firm) is
the person most knowledgeable about the changes to which Mr. Sorensen referred in
his July 27, 2010 deposition, the government, citing deposition testimony of Mr.
Sorensen that it was Mr. Hernandez who provided the direction and data that resulted
in the changes, is entitled to the limited additional discovery provided herein.

       These books and records matters should have been resolved under the court’s
audit order. Thereunder, claims based on books of account or other records and any
calculations derived therefrom, were to be voluntarily provided in a summary or
schedule, accompanied by a statement of their source. During the discovery period,
the sources and the persons who prepared each schedule or summary were to have
been produced and available for examination required to verify the listed items or
figures. Compliance with the audit order will be addressed at the Pretrial Conference.

       Accordingly, it is ORDERED that defendant’s Motion for Leave to Serve
Subpoenas and to Preclude Plaintiff and Its Expert from any Further Modification of
Plaintiff’s Damages Calculation and Expert Report, ECF No. 99, filed September 1,

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2010, is GRANTED in part and DENIED in part as provided herein. Upon the
conclusion of the matters provided herein, the parties shall file a status report, either
joint or separate, proposing the manner and dates of further proceedings. The court
is available to resolve any further disputes regarding the foregoing by contacting
Judicial Assistant Ms. Linda Eddins after October 27, 2010, at (202) 357-6613 to
schedule a telephone conference call.




                                                 s/ James F. Merow
                                                 James F. Merow
                                                 Senior Judge




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